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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***
      SHONDELL PITTS, individually and as legal
4     guardian of P.P.,
5                          Plaintiff,                      2:19-cv-01974-JCM-VCF
                                                           ORDER
6     vs.
      LAS VEGAS METROPOLITAN
7
      POLICEDEPARTMENT, a political subdivision
8
      of ClarkCounty, Nevada; JOSEPH
      LOMBARDO,Sheriff of Clark County, Nevada;
9     DAVIDNESHEIWAT, individually and in his
      officialcapacity; FUELZONE MART 2, LLC, a
10    Nevadalimited liability company; DOE CLERK,
      anindividual and DOES 1 through 10,
11
                           Defendants.
12
            Before the Court is FuelZone Mart 2, LLC’s Motion to Compel Plaintiff’s Initial Disclosures of
13
     Witnesses and Documents and Motion for Sanction (ECF No. 35).
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            In FuelZone’s reply, it states that is withdrawing the instant motion and withdraws any request for
15
     sanctions under FRCP 37. (ECF N0. 40 at page 3). The court will construe ECF No. 40 as a reply and a
16
     request to withdraw the motion to compel and motion for sanction.
17
            Accordingly,
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            IT IS HEREBY ORDERED that FuelZone’s Motion to Compel Plaintiff’s Initial Disclosures of
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     Witnesses and Documents and Motion for Sanction (ECF No. 35) is WITHDRAWN.
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21
            DATED this 20th day of October, 2020.
22                                                               _________________________
                                                                 CAM FERENBACH
23                                                               UNITED STATES MAGISTRATE JUDGE
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